        Case 1:23-vv-01907-UNJ             Document 27         Filed 02/24/25        Page 1 of 2




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 23-1907V


 CLARE ARCHER,                                              Chief Special Master Corcoran

                        Petitioner,
 v.                                                         Filed: January 22, 2025

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                       Respondent.


Phyllis Widman, Widman Law Firm, LLC, Northfield, NJ, for Petitioner.

James Connor Daughton, U.S. Department of Justice, Washington, DC, for
Respondent.

                                   RULING ON ENTITLEMENT1

       On October 27, 2023, Clare Archer filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as the result of an influenza (“flu”) vaccination received on
October 30, 2020. Petition at 1. The case was assigned to the Special Processing Unit of
the Office of Special Masters.

       On January 21, 2025, Respondent filed his Rule 4(c) Report in which he concedes
that Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at
1. Specifically, Respondent agrees that Petitioner’s alleged injury is consistent with
SIRVA as defined by the Vaccine Injury Table. Id. at 6 (citing 42 C.F.R. §§ 100.3(a),
1 Because this Ruling contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.   Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
       Case 1:23-vv-01907-UNJ        Document 27       Filed 02/24/25    Page 2 of 2




(c)(10)). Respondent further agrees that Petitioner has satisfied all legal prerequisites for
compensation under the Vaccine Act. Id. (internal citations omitted).

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.
                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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